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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                       NO. 4:05CR00327-001 SWW

DONDRICK ALEX JAMES



                                      ORDER
       Following defendant’s guilty plea to Count 1 of the indictment on

July 25, 2006, the Court took up the matter of defendant’s detention.

Defendant requested that he be placed in a drug rehab facility, and the

Court stated that the Probation Office has indicated it is in agreement

with this request and that Recovery Centers of Arkansas can accept

defendant    as   early   as   tomorrow.     Therefore,   the    Court   found   that

defendant’s request should be granted and that defendant’s conditions of

release should be modified.

       IT IS THEREFORE ORDERED that defendant’s conditions of release shall

be modified as follows: Defendant shall be released from custody of the

United States Marshal on July 26, 2006, to Recovery Centers of Arkansas.

Defendant’s shall successfully complete the program at Recovery Centers

of    Arkansas    and   then   participate   in   the   90-day    chem-free-living

component.

       IT IS SO ORDERED this 25th day of July, 2006.



                                              /s/Susan Webber Wright

                                              UNITED STATES DISTRICT JUDGE
